 

 

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

ADAM DOBSON,
NO. 1:16-cv-01958-CCC
Plaintiff,
vs. : (CONNER, C.J.)

THE MILTON HERSHEY SCHOOL, : .

et al., : FI LE
Defendants. : . FEB @ 8 2018

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DEFENDANTS’ MOTION FOR LEAVE TO Deputy Cierk

FILE DOCUMENTS UNDER SEAL

Defendants, The Milton Hershey School, and The Hershey Trust Company
(“Trust”), as Trustee of the Milton Hershey School Trust (collectively
“Defendants”), by and through their undersigned counsel, hereby move under
Local Rule 5.8 to file documents under seal. The documents which Defendants
seek to file under seal are provided at Exhibit “A” in Defendants’ sealed envelope
marked “Documents pending sealing decision” provided to the Clerk
contemporaneous with the filing of this Motion. Included in that sealed envelope
is a Proposed Order granting Defendants’ Motion to Seal and Defendants’
Memorandum of Law in Support of Their Motion to Seal. For all the reasons set
forth in Defendants’ Memorandum of Law in Support of this Motion, which is

incorporated herein by reference, this Court should grant Defendants’ motion to

 
 

 

file the documents under seal.

Dated: February 2, 2018

  

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Counsel for Defendants

  
 

 
CERTIFICATE OF SERVICE

 

I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing to
be served via first class mail and electronic mail upon all counsel of record,
including:

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Counsel for Plaintiffs

Dated: February 2, 2018 aN WwW

Jarad W. Handelman, Esquire

 

 

 
